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EXHIBIT 6
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UNITED.STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
(Alexandria Division)

AUDIO MPEG, INC.

Plaintiff,
Civil Action No.: 1:05 cy 565
Vv, Judge: Claude M. Hilton
AFFIDAVIT OF MARIE-ANGE DEBON
THOMSON S.A. and IN SUPPORT OF MOTION TO DISMISS
THOMSON INC, PLAINTIFF'S COMPLAINT
Detendants.

DEMAND FOR JURY TRIAL

FILED UNDER SEAL PURSUANT
TO PROTECTIVE ORDER

AFFIDAVIT OF MARIE-ANGE DEBON IN SUPPORT OF MOTION TO DISMISS
PLAINTIFF'S COMPLAINT

I, Marie-Ange DEBON, on oath hereby depose and state:

1. I currently serve as Thomson S.A.'s General Secretary. I have served as General
Secretary for the last 2 years and have worked for Thomson § A. foi 7 years

2. Based on my position and experience, | am extremely familiar with the corporate
Structure, activities and finances of Thomson S.A.

3. Thomson S.A. is incorporated under the laws of France and has its principal place of
business in Boulogne-Billancoutt, Fiance. Thomson Inc. is a Delaware corpouation with
its principal place of business in Indianapolis, Indiana Thomson Inc. is a wholly owned
subsidiary of Thomson S.A.

4 Thomson S.A. and Thomson Inc. maintain sepaiate corporate structures, including
separate boards, separate management and separate employees.

5. Thomson S.A. also maintains finances separate from those of Thomson Inc.

6 Thomson S.A does not direct or advise Thomson Inc. on how to sell or distribute any
Thomson Inc. product in the United States, including in Virginia.
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12.

Thomson S.A. does not do any business in Virginia. Specifically, Thomson S.A. does
not have any offices or business operations, own any property, or maintain any bank
accounts in Virginia Moreover, Thomson S.A. does not sell any products in Virginia, it
does not offer any services in Virginia, and it does not have any retailers o1 distributors in
Virginia

Consequently, Thomson § A. has not directly derived any revenue from sales in Virginia

and its contacts with Virginia residents and businesses are extremely limited.

To the best of my knowledge, Thomson S.A's contacts with Virginia residents and
businesses are confined to unsolicited communications from these residents and
businesses,

Thomson S.A. has therefore not sold or distributed in Virginia any products with
capabilities required by MPEG standards

.To the best of my knowledge, Thomson S A. also does not have any distributors or

1etailers located in Virginia which provide o1 sell any products with capabilities required
by MPEG standards

Further and to the best of my knowledge, Thomson S.A. has not provided or sold any
products with capabilities required by MPEG standards to distributors in the United
States which have nationwide distribution networks that include Virginia.

I declare under penalty of perjury under the Jaws of the United States of America that the

foregoing is true and correct

Executed on Friday, September 2, 2005.

CHI:1565801.1
